

Per Curiam.

The trustees are vested by law with the possession of the church, and with power “ to regulate and order the renting the pews therein.” (Sess. 24. c. 79. s. 4.) Whether the assessment of the pew-rent was a valid assessment we need not now inquire, for the defendant is not chargeable in this case, upon the implied assumpsit to pay, in consequence of the occupation of the pew. The trustees have no power to make and levy personal assessments, and the owner of the pew is not liable in personam, unless there be some special ground from which to infer a contract and promise to pay. We think the facts in this case are not sufficient to furnish such an inference, and, consequently, the defendant is entitled to judgment.
Judgment for the defendant.
